    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 1 of 13 PageID #:220




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

LOGAN M. GRIMES,                             )
                                             )
                      Plaintiff,             )
       vs.                                   )
                                             )       Case No. 19-cv-06091
COUNTY OF COOK, an Illinois                  )
county, d/b/a COOK COUNTY                    )       Judge Gary Feinerman
HEALTH & HOSPITALS SYSTEM                    )
and/or CERMAK HEALTH SERVICES;               )       Magistrate Judge Jeffrey T. Gilbert
and MELVIN JUDKINS, in his                   )
individual capacity;                         )
                                             )
               Defendants.                   )


   DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Defendants COUNTY OF COOK and MELVIN JUDKINS, by their attorney, Kimberly

M. Foxx, State’s Attorney of County of Cook, through her Assistant State’s Attorney Colleen

Harvey, pursuant to Rule 12(b)(6), respectfully move this Honorable Court to dismiss Plaintiff’s

Amended Complaint with prejudice. In support of this motion, Defendants state as follows:

                                    I.      BACKGROUND

       Plaintiff is currently employed by Cook County as a Correctional Medical Technician II

and has held this position at the Cook County Jail since February 2013. (Amended Complaint,

Count I ¶2) Plaintiff is a transgender person, meaning that his designated sex at birth was female,

but that in 2003, he began a transition to male and has been living as a male since 2003. (Id., ¶4)

Since 2008, Plaintiff alleges that he has kept his transgender status private and that he did not

disclose it when applying for employment, or to coworkers. (Id., ¶5)

       At all relevant times, Plaintiff reported directly to Defendant Melvin Judkins. (Id., ¶3)

Plaintiff claims that in 2018, he began experiencing harassment from his coworkers, and beginning

                                                 1
    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 2 of 13 PageID #:221




in May 2018, the harassment was related to his gender identity. (Amended Complaint, Count IV

¶11) Plaintiff further claims that on September 28, 2018, after the alleged gender-identity related

harassment began, Judkins discussed Plaintiff’s transgender status with Plaintiff’s coworkers. (Id.)

Plaintiff does not allege that Judkins had access to Plaintiff’s medical file or otherwise was privy

to Plaintiff’s confidential personnel file.    Essentially, Plaintiff alleges Judkins engaged in

inappropriate gossip. Since September 28, 2018, Plaintiff has not returned to work and has chosen

instead to be on an unpaid leave of absence. (Id.)

       Plaintiff initially filed his lawsuit in the Circuit Court of Cook County. Defendants moved

to dismiss the complaint. Rather than responding to the motion to dismiss, Plaintiff agreed to

amend his complaint. In addition to state law claims, Plaintiff’s Amended Complaint now includes

a claim under 42 U.S.C. §1983. Defendants removed the lawsuit to federal court based on this

federal claim. Plaintiff’s Amended Complaint alleges the following causes of action: (I) 42 U.S.C.

§1983 violation of substantive due process against Judkins, and against Cook County for

indemnification purposes; (II) invasion of privacy against Judkins; (III) intentional infliction of

emotional distress against Judkins; (IV) Illinois Human Rights Act (“IHRA”) hostile work

environment based on gender-related identity against Cook County; (V) IHRA discrimination

based on gender-related identity alleging segregation against Cook County; (VI) IHRA

discrimination based on gender-related identity alleging denial of paid leave of absence against

Cook County; and (VII) IHRA retaliation for opposing discrimination based on gender-related

identity against Cook County.

       Defendants move to dismiss with prejudice all claims in the Amended Complaint.

Defendants move to dismiss Count I because it is insufficiently pled and Judkins is entitled to

qualified immunity. Defendants move to dismiss Counts II and III under the Illinois Tort



                                                 2
    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 3 of 13 PageID #:222




Immunity Act. Count II also should be dismissed because Plaintiff has failed to plead the elements

of public disclosure of a private fact. Count III should also be dismissed because it is pre-empted

by Plaintiff’s IHRA claims. Count IV should be dismissed because Plaintiff has failed to plead

the elements of a hostile work environment under the IHRA. Finally, Counts V, VI and VII should

be dismissed because Plaintiff has failed to allege an adverse employment action.

                               II.     STANDARD OF REVIEW

       Federal Rule of Civil Procedure 12(b)(6) authorizes dismissal of complaints that do not

state an actionable claim. In assessing the motion, the Court must accept the well-pleaded

allegations as true and draw all reasonable inferences in the light most favorable to the plaintiff.

Gutierrez v. Peters, 111 F. 3d 1364, 1369 (7th Cir. 1997). However, the plaintiff’s factual

allegations must plausibly suggest that the plaintiff is entitled to relief, “raising that possibility

above a speculative level.” Tamayo v. Blagojevich, 526 F.3d 1074, 1084 (7th Cir. 2008) (citing

Bell Atlantic v. Twombly, 127 S.Ct. 1955, 1959 (2007). A “plaintiff’s obligation to provide the

‘grounds’ of his ‘entitlement for relief’ requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. “[A]

complaint will not suffice if it tenders ‘naked assertions’ devoid of ‘further factual enhancement.’”

Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2008) (citing Bell Atlantic, 550 U.S. at 557).

                                       III.    ARGUMENT

       I.      The allegations in Count I do not state a legal claim against Judkins or Cook
               County.

       A. The alleged disclosure does not violate Plaintiff’s substantive due process rights.

       Count I alleges that Plaintiff was deprived of substantive due process in violation of §1983.

(Amended Complaint, Count I, ¶¶1-16) But Plaintiff has failed to allege a violation of his

substantive due process rights. A claim of a violation of substantive due process rights is limited

                                                  3
    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 4 of 13 PageID #:223




to violations of fundamental rights. Palka v. Shelton, 623 F.3d 447, 453 (7th Cir. 2010) (citing

Belcher v. Norton, 497 F.3d 742, 753 (7th Cir. 2007)) (Substantive due process claims are limited

to fundamental rights and “employment related rights are not fundamental.”) “Substantive due

process cases require a ‘careful description’ of the asserted fundamental liberty interest.” Hughes

v. Jones, 2014 U.S. LEXIS 53181, *42 (N.D.Ill., April 17, 2014), citing Washington v. Glucksberg,

521 U.S. 702, 710-21 (1997). Here, Plaintiff vaguely alleges that Judkins’ disclosure of Plaintiff’s

transgender status violated his substantive due process rights. (Amended Complaint, Count I,

¶¶11-12) However, Plaintiff does not even plead that he had a fundamental liberty interest in

keeping this information private, an element necessary to a substantive due process claim.

       Plaintiff claims only that his transgender status is “confidential medical information,”

without any assertion that its disclosure would deprive Plaintiff of a fundamental right. (Amended

Complaint, ¶5) The Seventh Circuit has recognized that “medical information may be a form of

protected confidential information because of its intimate and personal nature.” Denius v. Dunlap,

209 F.3d 944, 957 (7th Cir. 2000).       While this protection applies to medical records and

communications, it does not extend to all information that might be disclosed about a person’s

body. Best v. Berard, 2011 U.S. Dist. LEXIS 131572, *9 (N.D. Ill., November 15, 2011)

(“Information disclosing one’s height and weight is not protected under a constitutional privacy

right.”). Plaintiff has not alleged that actual medical records were released by Judkins. Nor has

Plaintiff adequately established a causal connection between what he alleges is confidential

medical information and Judkins’ access to it. If the information about his transgender status was

actually private, Plaintiff makes no allegation as to how Judkins accessed that information.




                                                 4
    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 5 of 13 PageID #:224




         B. The alleged disclosure does not rise to the level of shocking the conscience.

         The Due Process Clause also protects against abuses of power by executive officials, but

official misconduct rises to the level of a constitutional violation only if it “shocks the conscience.”

Palka, 623 F.3d at 454. “The threshold for this kind of due-process claim is high; many forms of

governmental misconduct are excluded.” Id., citing Tun v. Whitticker, 398 F.3d 899, 903 (7th Cir.

2005).    Here, Plaintiff has failed to allege conduct on behalf of Judkins that “shocks the

conscience.” Plaintiff pleads only that in the course of a discussion about a job applicant, Judkins

shared with Plaintiff’s coworkers why Plaintiff was not assigned to a specific division. (Amended

Complaint, Count I, ¶11) Plaintiff alleges that through this brief conversation with coworkers,

Judkins acted “maliciously and with reckless disregard for Plaintiff’s safety and rights.” (Id.)

However, Plaintiff offers no facts to support his allegations of Judkins’ maliciousness. Likewise,

other than speculative allegations that the discussion placed Plaintiff’s physical safety at risk,

Plaintiff has not pled any detrimental impact or damages. Thus, Plaintiff’s substantive due process

claim also fails under an official misconduct analysis.

         C. Judkins is entitled to qualified immunity.

         Even if Plaintiff had adequately pled a substantive due process claim, which he has not,

the claim still must be dismissed under the doctrine of qualified immunity. Individual liability

under §1983 requires proof that the individual defendants were acting under the color of state law

and that the defendants’ conduct violated the plaintiffs’ rights, privileges, or immunities secured

by the Constitution or laws of the United States. Lanigan v. Vill. Of E. Hazel Crest, Ill., 110 F.3d

467, 471 (7th Cir. 1997); Farmer v. Brennan, 511 U.S. 825 (1994). Qualified immunity is an

affirmative defense, which may be raised in a motion to dismiss where the court accepts the facts

alleged in the complaint as true. Lanigan, 110 F.3d at 471. Pursuant to the defense of qualified



                                                   5
    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 6 of 13 PageID #:225




immunity, “government officials performing discretionary functions are shielded from liability for

civil damages insofar as their conduct does not violate clearly established statutory or

constitutional rights of which a reasonable person would have known.” Id. A right is clearly

established when its contours are sufficiently clear so that a reasonable official would realize that

what he is doing violates that right. Shields v. Burge, 874 F.2d 1201, 1205 (7th Cir. 1989).

       While gossiping about a co-worker should be discouraged, an objectively reasonably

official in Judkins position would not recognize that discussing or disclosing Plaintiff’s

transgender status would violate any substantive due process right. While not alleged in Count I,

Plaintiff’s Amended Complaint references that Plaintiff’s coworkers made comments to him

regarding his “perceived or actual gender-related identity,” before Judkins’ alleged disclosure.

(Amended Complaint, Count IV, ¶11, Count VI, ¶11). Even if Plaintiff’s coworkers were unaware

of Plaintiff’s transgender status, Judkins reasonably would not recognize that a conversation

regarding Plaintiff’s assignment and transgender status would deprive Plaintiff of substantive due

process. Hughes, 2014 U.S. LEXIS 53181, *47 (Individual defendants employed as child abuse

investigators were entitled to qualified immunity because they would not understand that a hasty

and rushed investigation would deprive Plaintiff of substantive due process).

       II.     Judkins cannot be liable for Plaintiff’s tort claims pursuant to the Local
               Governmental and Governmental Employee Tort Immunity Act.

       Plaintiff’s tort claims against Judkins should be dismissed pursuant to the Illinois Local

Governmental and Governmental Employees Tort Immunity Act (“Illinois Tort Immunity Act”).

The tort liability of municipalities is governed by the Tort Immunity Act. West v. Kirkham, et al.,

147 Ill. 2d 1, 5 (1992); 745 ILCS 10/1-101 et seq. The Act confers immunity upon local

governments and their employees for liability arising out of the operation of government. Id.

Section 2-210 of the Act provides as follows: “A public employee acting in the scope of his

                                                 6
    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 7 of 13 PageID #:226




employment is not liable for an injury caused by his negligent misrepresentation or the provision

of information, either orally, in writing, by computer or any other electronic transmission, or in a

book or other form for library material.” 745 ILCS 10/2-210. While Counts II and III allege that

Judkins was not acting in the scope of his employment, the Complaint contains no facts to support

this inference. (Amended Complaint, Count II, ¶12, Count III, ¶12) In fact, Plaintiff pleads the

opposite, that Judkins was acting within the scope of his employment in Count I. (Amended

Complaint, Count I, ¶11) Because Judkins was simply providing information in the course of his

employment, he is entitled to immunity under the Tort Immunity Act.

        III.    Counts II and III are pre-empted by Plaintiff’s IHRA claims and should be
                dismissed.

        The Court should dismiss Counts II and III (invasion of privacy and intentional infliction

of emotional distress) because they are preempted by Plaintiff’s IHRA claims. If a plaintiff’s

common law action seeks redress for injuries arising from a “civil rights violation” within the

meaning of the IHRA, then the IHRA preempts the common law claim. Geise v. The Phoenix

Company of Chicago, Inc., 159 Ill. 2d 507, 516 (1994) The IHRA provides for “a comprehensive

scheme of remedies and administrative procedures for redress of civil rights violations.” Schroeder

v. RGIS, Inc., 2013 IL App (1st) 122483, *P25 (1st Dist. 2013); Veazey v. LaSalle

Telecommunications, Inc., 334 Ill. App. 3d 926, 933 (1st Dist. 2002). The following limitation

provision is contained in the IHRA: “[e]xcept as otherwise provided by law, no court of this state

shall have jurisdiction over the subject of an alleged civil rights violation other than as set forth in

this Act.” See 775 ILCS 5/8-111(D). Thus, the Illinois Supreme Court has repeatedly held that

IHRA provides the exclusive source of redress for alleged civil rights violations, including

employment discrimination claims. Castaneda v. Illinois Human Rights Comm’n, 132 Ill. 2d 304

(1989); Mein v. Masonite Corp., 109 Ill. 2d 1, 7 (1985). If a common law action is in essence one

                                                   7
    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 8 of 13 PageID #:227




which seeks redress for a “civil rights violation” as defined in the IHRA, the circuit court lacks

subject-matter jurisdiction to adjudicate the claim. Maksimovic v. Tsogalis, 177 Ill. 2d 511, 516

(1997). An absence of subject-matter jurisdiction cannot be waived by the parties, and may be

raised at any time. Geise, 159 Ill. 2d at 515.

           The Illinois Supreme Court has further held that “whether the circuit court may exercise

jurisdiction over a tort claim depends upon whether the tort claim is inextricably linked to a

civil rights violation such that there is no independent basis for the action apart from the Act

itself.” Maksimovic 177 Ill. 2d at 517. In Geise, the plaintiff filed a sexual harassment claim

against her former employer based on her allegation that her employer hired and retained a

manager who had harassed her. She also asserted that the employer was liable for IIED arising

from the harassment. The Illinois Supreme Court held that the IIED claim was preempted by the

IHRA because it was inextricably linked to her civil rights claim. Geise, 159 Ill. 2d at 516.

           Here, Plaintiff’s invasion of privacy and IIED claims seek to redress the harm Plaintiff

alleges in his hostile work environment, discrimination and retaliation claims under the IHRA. As

noted above, under Section 2-102(a) of the IHRA, it is a civil rights violation “[f]or any employer

to refuse to hire, to segregate, or to act with respect to recruitment, hiring, promotion, renewal of

employment, selection of training or apprenticeship, discharge, discipline, tenure or terms,

privileges or conditions of employment on the basis of unlawful discrimination or citizenship

status.”     See 775 ILCS 5/2-102(A).       Section 6-101(A) of the Human Rights Act further

provides: ”[i]t is a civil rights violation for a person, or for two or more persons to conspire, to

[r]etaliate against a person because he or she has opposed that which he or she reasonably and in

good faith believes to be unlawful discrimination…in employment.” See 775 ILCS 5/6-101(A).




                                                  8
    Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 9 of 13 PageID #:228




       Here, Plaintiff alleges emotional distress based on alleged harassment, discrimination and

retaliation due to Plaintiff’s gender-related identity, a status protected by the IHRA. See 775 ILCS

1-103(O-1). Further, Plaintiff’s invasion of privacy claim is incorporated into Plaintiff’s claims

that he experienced a hostile work environment, discrimination and retaliation, as Plaintiff’s IHRA

claims are based on Judkins’ alleged disclosure. Without being able to allege that Plaintiff’s

gender-related identity is protected, Plaintiff would not have an independent basis for his invasion

of privacy and IIED claims. Thus, Plaintiff’s invasion of privacy and IIED claims must be

dismissed because they are pre-empted by the IHRA.

       IV.     Plaintiff failed to plead invasion of privacy.

       Even if the court was to determine that Plaintiff’s invasion of privacy count is not pre-

empted, Plaintiff has failed to properly allege invasion of privacy-public disclosure of private facts.

A successful cause of action for invasion of privacy-public disclosure of private facts requires the

plaintiff to prove that: (1) publicity was given to the disclosure of private facts; (2) the facts were

private and not public facts; (3) the matter made public would be highly offensive to a reasonable

person; and (4) the matter published was not of legitimate public concern. Cordts v. Chicago

Tribune Co., 369 Ill. App. 3d 601, 607 (1st Dist. 2006); Johnson v. K Mart Corp., 311 Ill.App.3d

573, 579 (1st Dist. 2000).

       Here, Plaintiff’s invasion of privacy claim fails because Plaintiff admits in his complaint

that certain coworkers were aware of his transgender status as early as May 2018, more than four

months before Plaintiff alleges that Judkins disclosed his transgender status.             (Amended

Complaint, Count IV, ¶11, Count VI, ¶11) Therefore, the facts that Plaintiff alleges were disclosed

were not private, which is a necessary element of public disclosure of private facts. Wynne v.

Loyola Univ. of Chicago, 318 Ill. App. 3d 443, 453 (1st. Dist. 2000) (A necessary element of public



                                                  9
   Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 10 of 13 PageID #:229




disclosure of private facts is that the facts disclosed have to be private, not public). In Wynne, the

First District held that the facts at issue lost their private nature when plaintiff disclosed them to a

few coworkers. Id. Here, Plaintiff has alleged that coworkers were aware of his gender identity

prior to Judkins’ disclosure. (Amended Complaint, Count IV, ¶11, Count VI, ¶11) Plaintiff has

failed to plead an essential element of invasion of privacy, and this claim should be dismissed.

       V.      Count IV should be dismissed pursuant because Plaintiff has not properly pled
               a hostile work environment.
       Plaintiff states that he was subjected to a hostile work environment but does not allege that

it was so severe and pervasive to as to alter his working conditions. The prohibition of sexual

harassment found in the Illinois Human Rights Act “closely parallels” Title VII of the Civil Rights

Act, and, therefore, examination of federal Title VII law is appropriate. Trayling v. Board of Fire

and Police Commissioners of the Village of Bensenville, 273 Ill. App. 3d 1, 11(2nd Dist. 1995).

Title VII is violated when “the workplace is permeated with discriminatory intimidation, ridicule,

and insult, that is sufficiently severe or pervasive to alter the conditions of the victim’s

employment and create an abusive working environment.” Mendenhall v. Mueller Streamline Co.,

419 F.3d 686, 691 (7th Cir. 2005) (quoting Harris v. Forklift Sys. Inc., 510 U.S. 17, 21 (1993)).

For a hostile work environment claim under Title VII, a plaintiff needs to prove that (1) he was

subject to unwelcome harassment; (2) the harassment was based on his protected status; (3) the

harassment was so severe and pervasive as to alter the conditions of employment; and (4) there is

basis for employer liability.   Huri v. Office of the Chief Judge of the Circuit Court of Cook Cty.,

804 F.3d 826, 833-34 (7th Cir. 2015).

        Plaintiff has not pled that the conduct was severe and pervasive to substantially interfere

with his work performance or create an offensive working environment. Plaintiff only vaguely

alleges that he witnessed harassment of transgender detainees by correctional officers and medical


                                                  10
   Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 11 of 13 PageID #:230




staff, without any supporting facts. (Amended Complaint, Count IV, ¶8) Plaintiff alleges that his

coworkers shunned him and refused to communicate with him, but makes no allegation this is

related to any protected status. (Id., ¶11) Aside from Plaintiff’s allegations regarding Judkins’

disclosure, Plaintiff points to only two other incidents over several months in which his coworkers

referred to his transgender status. (Id.) In a third incident alleged by Plaintiff involving a nurse

whose last name is Bradford, the comments were not directed to Plaintiff. (Id.) As pled, Plaintiff’s

allegations fail to rise to the level of a hostile work environment, as “[r]elatively isolated instances

of non-severe misconduct will not support a claim of hostile environment.” Whittaker v. N. Ill.

Univ., 424 F.3d 640, 646 (7th Cir. 2005). Even if the treatment Plaintiff alleges is true, it would

not be sufficient to constitute a hostile work environment. Therefore, Plaintiff’s hostile work

environment claim should be dismissed.

       VI.      Counts V, VI and VII should be dismissed because Plaintiff has failed to allege
                an adverse employment action.
       In Counts V, VI, and VII, Plaintiff alleges discrimination and retaliation based on his

gender-related identity. In analyzing discrimination claims under the IHRA, Illinois courts have

adopted the framework used by the federal courts in addressing discrimination claims under Title

VII. Zaderaka v. Ill. Human Rights Com’n, 131 Ill. 2d 172, 178 (1989). To establish a prima facie

case of employment discrimination, plaintiff must first show that (1) he is a member of a protected

class; (2) he was meeting his employer’s legitimate expectations; (3) he suffered an adverse

employment action; and (4) the employer treated similarly situated employees outside the class

more favorably. Owens v. Dep’t of Human Rights, 403 Ill. App. 3d 899, 919 (1st Dist. 2010). In

order to state a prima facie case of retaliation under the IHRA, a plaintiff must show that (1) he

was engaged in a protective activity; (2) his employer committed a material adverse act against




                                                  11
   Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 12 of 13 PageID #:231




him; and (3) a causal nexus existed between the protected activity and the adverse act. Hoffelt v.

Ill. Dep’t of Human Rights, 2006 Ill. App. LEXIS 790, *12 (1st Dist. 2006).

       Plaintiff’s complaint fails to allege an adverse employment action on the basis of Plaintiff’s

protected status. Plaintiff claims only that Defendants denied him assignments in Division 6 and

failed to place him on paid leave after Judkins’ alleged disclosure of his transgender status.

(Amended Complaint, Count V, ¶¶7-8. Count VI, ¶¶14, 18, Count VII, ¶¶14, 18) To show that he

suffered an adverse employment action, Plaintiff must establish that the employment action was

“materially adverse and not a mere inconvenience or an alteration of job responsibilities” Owens,

403 Ill. App. 3d at 919. A materially adverse employment action is “one that significantly alters

the terms and conditions of the employee’s job.” Id. “Adverse employment actions include things

such as hiring, denial of promotion, reassignment to a position with significantly different job

responsibilities, or an action that causes a substantial change in benefits.” Id. [N]ot everything

that makes an employee unhappy is an actionable adverse action. Otherwise minor and even trivial

employment actions that ‘an irritable, chip-on-the-shoulder employee would not like would form

the basis of a discrimination suit.’” Smart v. Ball State Univ, 89 F.3d 437, 441 (7th Cir. 1996),

citing Williams v. Bristol-Myers Squibb Co. 85 F.3d 270, slip op. at 6 (7th Cir. 1996).

       Plaintiff’s pleading here does not even meet the lower standard of an adverse action set for

IHRA retaliation claims. Plaintiff’s allegations about the denial of assignments and leave do not

rise to the level of a materially adverse employment action under a discrimination or retaliation

analysis. Plaintiff has not been demoted, disciplined, suspended or terminated. Plaintiff alleges a

loss of pay due to the denial of paid leave (Count V and VI, ¶¶14), but this resulted only from

Plaintiff’s own decision not to report to work.         Plaintiff has failed to adequately plead




                                                12
   Case: 1:19-cv-06091 Document #: 10 Filed: 09/18/19 Page 13 of 13 PageID #:232




discrimination and retaliation under the IHRA, and therefore, Counts V, VI and VII should be

dismissed.

                                      IV.    CONCLUSION

       WHEREFORE, Defendants move this Honorable Court to dismiss Plaintiff’s Complaint

with prejudice and grant any such other relief that is equitable and just.

Date: September 18, 2019                      Respectfully submitted,

                                              KIMBERLY M. FOXX
                                              State’s Attorney of Cook County

                                       By:    /s/ Colleen Harvey
                                              Colleen Harvey
                                              Assistant State’s Attorney
                                              Civil Actions Bureau
                                              500 Richard J. Daley Center
                                              Chicago, Illinois 60602
                                              (312) 603-6665
                                              colleen.harvey@cookcountyil.gov




                                                 13
